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                            UNITED STATES DISTRICT COURT
                                Southern District of Indiana
                                  Indianapolis Division

 KOCH TRUCKING, INC.,                      )
      Plaintiff,                           )
                                           )
 v.                                        )      Case No. 1:20-cv-2866-TWP-DML
                                           )
 AVALON & TAHOE MFG., INC. and             )
 ROBERT E. WARNER, JR.,                    )
     Defendants.                           )


                              STIPULATION OF DISMISSAL

        The parties, by counsel, stipulate to the dismissal of the above captioned cause with

 prejudice, costs paid.


 Respectfully submitted,                                 Respectfully submitted,


 /s/ Eric K. Habig                                       /s/ Matthew D. Miller
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